Case 1:22-cr-00202-RM Document 97 Filed 01/17/23 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-00202-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

2      JAMES ALBERT WITTE,

       Defendant.



        GOVERNMENT'S MOTION TO DISMISS COUNTS WITH PREJUDICE


       The United States of America, by and through Martha A. Paluch, Assistant

United States Attorney, hereby respectfully moves the Court, after having accepted

Defendant James Albert Witte’s plea of guilty to Count 1 of the Superseding Indictment

and pursuant to the terms of the plea agreement in this case, to dismiss with prejudice

Counts 2 through 5 of the Superseding Indictment with respect to Defendant James

Albert Witte only at the time of sentencing.

                                          Respectfully submitted,

                                          s/ Martha A. Paluch___________
                                          Martha A. Paluch
                                          Assistant U.S. Attorney
                                          United States Attorney’s Office
                                          1801 California Street, Suite 1600
                                          Denver, CO 80202
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                                          Martha.paluch@usdoj.gov




1
Case 1:22-cr-00202-RM Document 97 Filed 01/17/23 USDC Colorado Page 2 of 2




                                CERTIFICATE OF SERVICE

       I certify that on this 17th day of January, 2023, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to all counsel of record in this case.



                                                    s/ Martha A. Paluch__________
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                                                    Denver, CO 80202
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2
